WOON HOULPWNHY

Case 1:15-cv-05871-KPF Document 4

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

KELLY PRICE

PLAINTIFF
-against-

DETECTIVE LINDA SIMMONS Individually,

and as an employee of the New York City Police
Department, ADA MARIA STROHBEHN and

ADA KENYA WELLS Individually,

and as employees of the New York County

District Attorney’s Office, THE CITY OF NEW YORK,
Deputy DA Audrey Moore, ADA Larry Newman, ADA
Laura Higgins nee Richendorfer, ADA Christina
Maloney, ADA Patricia Bailey, ADA Susan Roque and
DA Cyrus Vance Jr., as employees of the New York
County District Attorney’s Office, Inspector Obe of

the New York City Police Department, in her capacity
as an employee of the New York City Police Department,
Rose Pierre-Louis in her capacity as the Commissioner
of Domestic Violence of the City of New York,

DEFENDANTS,

 

 

AMENDED COMPLAINT

 

Kelly Price

Pro Se

534 w 187" st. apt #7
New York, NY 10033

Filed 08/13/15 Page 1 of 16

Index yt No \S> 583 \

JURY TRIAL DEMANDED

 

 

USDC SDNY
DOCUMENT

ELECTRONICALLY FILED
DOC Feces arch aaesacamennenn
DATE FILED:, x )\ 3S

   
    

   
  
 

 

 

 

 

 
Oo ON Dn oO FF W ND

mM wp Sw BB NH BS WH KY NY NY FP KF FP RP RP RP RP RP RP BB
Oo @OQY Aun ££ WwW NS FP CO BO ON DH FF W NS FP SO

Case 1:15-cv-05871-KPF Document 4 Filed 08/13/15 Page 2 of 16

Plaintiff Kelly Price, Pro Se, alleges for the following:
Plaintiff Kelly Price “PRICE” is an individual and resident of New York, and resides at 534 w 187" st
#7, New York, New York 646 676 1940: graciegracie2 |2@gmail,com on behalf of herself and of
classes of similarly situated women (together, “Plaintiffs”), based on personal knowledge and upon
information and belief, allege as and for the Complaint as follows:

NATURE OF ACTION:
Confidential informants and complainants on major cases exploit the authority of their position to
abuse, traffic and torture the women in their reach. This abuse is only possible because the City of
New York has enabled a culture of complacency to perpetuate within the criminal justice system
allowing the Police and District Attorney’s to turn a blind eye towards the trafficking of, physical,
mental, and economic abuses of women involved in intimate partner relationships with confidential
informants or complainants on major cases. These confidential informants and complainants are
integral to Police and DA’s successful prosecutions on other, unrelated, cases to the abuse because
they allow Police and Prosecutors to maintain their quotas, conviction rates, arrest-rates and to build
their careers and move onto higher political office or higher-paid positions of employ.
Plaintiff Price was savagely trafficked, beaten and abused by Raheem Andre Powell, an informant and
major-case complainant working for the NYPD and MDAO, who threatened to, and did, punish her if
she resisted or reported his abuse. Now, Plaintiffs bring this civil rights action pursuant to 42 U.S.C. §
1983 against the City of New York (the “City” and, collectively, “Defendants”) to obtain declaratory
judgment, injunctive relief, and compensatory and punitive damages for deprivation of their
constitutional rights. As Plaintiff Price will demonstrate, other women in NYC have been denied
Police and DA protections because of the status their abusers have held as Confidential Informants and
witnesses.
Plaintiff Price was denied the ability to file police reports against Powell for his abuse from August of
2009 through January of 2011.
Plaintiff Price was denied intake and services at the Family Justice Center.
Plaintiff Price was denied her First Amendment Rights to Free Speech similarly to others charged with

the unconstitutional statute (NYS CPLR 240.30) that was stricken down as illegal, unlawful,
0 ON BD aT SF WW NWN

mo MN WB YY YY YY WY NY BP RP BK RP RP RP RP RP FR
ody auwn fb WN FP OO ON OH fF WY FP CO

10.

11.

Case 1:15-cv-05871-KPF Document 4 Filed 08/13/15 Page 3 of 16

unconstitutional and misleadingly written in broad-strokes in May of 2014 in a decision written by the
Hon. New York State Courts Chief Administrative Judge Jonathan Lippman.

Plaintiff Price was Denied Police Services and put on a Blacklist and is similarly situated with a class
of other victims illegally and unlawfully denied their rights to due process, equal protection under the
law et al.

The New York City Police Department and the City Itself by extension has recognized the ‘coercive
power that uniformed and ununiformed officers wield over complainants of Domestic Violence who
come forward in an attempt to make complaints of violence against officers by meting-out separate
procedures in the NYPD for the investigation of violence against ordinary citizens and of unformed
and ununiformed Police Officers. The City is aware that a significant risk of coercion of women who
come forward to make complaints against officers exists but it nonetheless permits a culture of
systemic trafficking and other abuse of women by Confidential Informants and complainants on major
cases to exist in NYC.

The pervasive culture of trafficking, sexual slavery and abuse of women is common knowledge within
and without the NYPD and various District Attorney’s Offices. DAs and NYPD officers, brass and
minions know not only that women are regularly abused by their Informants and complainants but also
engage in a pattern of cover-up, victim-blaming, false-arrest, malicious prosecution, denial of rights,
obfuscation and “GAS-Lighting” of victims in order to curry favor with their informants and to sink
the true victim’s credibility and esteem to the point of no return. This especially egregious as the
NYPD and District Attorney’s offices are fully aware of the psychological repercussions and aftermath
of abuse and are cognizant of how to play off of the mental disorders, depression, and physical frailties
that domestic violence and traffic victims suffer during and after abuse.

Supervisory officers and managerial District Attorneys facilitate this abuse by allowing the normal
mandates (legislated by McKinney’s Crime Victims’ Laws) of investigations into allegations of
trafficking and abuse to fall by the wayside and by turning the other cheek to the victims’ ultimate
secondary abuse by the criminal justice system when victims are charged and/or threatened with

fraudulently false counter-complaints in order to control them, shut them up, and appease their abusers.
ow On nu F- WO WN

me MBM BY BY KY NYS NY NY N #& FP RP RP FP PP FP FP FP
So ©xAWA A un BF wWNH FP CO HO ON Do FF Ww NY FF SO

12.

13.

14.

Case 1:15-cv-05871-KPF Document 4 Filed 08/13/15 Page 4 of 16

The City facilitates this physical, economic and mental abuse and sexual slavery and other violations
of rights by permitting supervisory officers and DAs to operate in the manner alleged herein, by failing
to monitor (through oversight or otherwise): failing to train ADAs and NYPD on the mandates of
McKinney’s NYS Crime Victims’ Statutes: by failing to distribute literature or to post signs in its
precincts, Family Justice Centers and Crime Victims Centers alerting victims of their rights as a crime
victim: by failing to ensure that when a victim of DV or trafficking is denied services be she is
deemed a “fabricator” that proper DUE PROCESS is in place to ensure that the opinion of one
prosecutor or officer is not heavily weighted by their motivation to bring-in convictions and make
cases already in the works.

The City fails to protect from retaliation women who make complaints against Confidential Informants
or Complainants on major cases by placing them on “Do NOT SERVE?” lists effectively barring them
from receiving Police services and protections in the future giving other perpetrators and abusers,
skilled at sousing-out and targeting weak and fragile victims in a depressed and helpless state an actual
and perceived free hand to victimize these women. This retaliation in Plaintiff Price’s case was well
known in her neighborhood of Southwest Harlem and Plaintiff Price was often attacked by Powell’s
acquaintances, family members and other predators in the area BECAUSE THEY WERE AWARE
OF PRICE’S STATUS AS A NAMED MEMBER OF THE “DO NOT SERVE LIST” THAT THE
28™ PRECINCT WOULD NOT ASSIST. The City’s customs, policies, practices, acts, and omissions
allowed Raheem Powell to abuse Plaintiff Price and for other women to be abused and allowed other
predators, Powell, Powell’s circle, the MDAO and the NYPD to retaliate against Price

The City remained indifferent to the widespread abuse and denial of protections and victims’ services
to Plaintiff Price and others. Rather than taking prompt steps to investigate and punish Powell, the City
instead both continued to use Powell as a informant and complainant despite the credibility issues he
had as his record already included a Domestic Violence Felony. The City treated Price as an
adversary, refusing all requests to accept and investigate her 61 reports of his felony assaults and
battery and refusing information about its investigation of her allegations, first on the ground that the
investigation found no wrongdoing, and later on the mutually exclusive ground that the investigation

that purportedly had “found” no wrongdoing was nevertheless still ongoing. The City has also
Oo On nan a F&F Ww WN

me NM NHN BY HB YY NY YW NHN RP RP KP FP RP RP RP RP RP BB
Oo onda nn €F WHS PP DG DO DON Do FF Ww NY PF SO

15.

16.

17.

18.

19,

20,

Case 1:15-cv-05871-KPF Document 4 Filed 08/13/15 Page 5 of 16

withheld records of the abuse and blackmail and campaign of terror that Powell enacted against Price
—text messages on Price’s phone proving the battery, coercion trafficking and violence and refused to
return the personal property/phones to Price that she provided the City to assist its purported
investigation.

JURISDICTION AND VENUE

This court has jurisdiction over this action under 28 U.S.C. §§ 1331 and 1343.

Venue is proper in the United States District Court for the Southern District of New York pursuant to

28 U.S.C. § 1391(b).

PARTIES

Plaintiff Price is a former detainee at RMSC on Rikers Island who currently resides in New York City.
At all times referred to herein, Linda Simmons was a New York City Police Detective Officer
employed by NYPD and assigned to work the 28" precinct. Plaintiff Price sues Simmons in her
professional and individual capacities Upon information and belief, Simmons is a resident of the State
of New York.

Defendant the City of New York is a municipal entity created and authorized under the laws of the
State of New York. It is authorized by law to maintain a Police department, Office for the prevention
of Domestic Violence headed by an appointed Commissioner of Domestic Violence and also
authorized to maintain District Attorney’s office which act as its agent in the area of protection, justice,
penalties for crimes and security of the citizenry of New York City and for which it is ultimately
responsible. The City maintains NYPD and the MDAO, which are municipal entities, created and
authorized under the laws of the State of New York. The NYPD is authorized by law to carry out all
protection and security functions for the City and assumes responsibility for the care, custody, and
control of persons who turn to the City looking for help in extracting themselves from violent intimate
partner relationships and trafficking subjections.

At all times referred to herein, defendant Maria Strohbehn was a New York City Assistant District
Attorney employed by the Manhattan District Attorney’s Office and assigned to work the 28" precinct

and other Northern Manhattan precincts as part of operation “Crew Cut”. Plaintiff Price sues
wo On non ua F&F wo DY

ww NS BY YY NY NN NY KN KBP RP KF FP RP FP RP RP RP BB
Oo OY BO vA FF WN FH DO ODO DON Duo FF W DY FP ©

21,

22,

23.

24.

25.

26

27.

Case 1:15-cv-05871-KPF Document 4 Filed 08/13/15 Page 6 of 16

Strohbehnin her professional and individual capacities Upon information and belief, Strohobehn is a
resident of the State of New York.

At all times referred to herein, defendant Cyrus Vance was the New York City District Attorney
employed by the Manhattan District Attorney’s Office”. Plaintiff Price sues Vance in his professional
and capacities. Upon information and belief, Vance is a resident of the State of New York.

At all times referred to herein, defendant Audrey Moore was a New York City Assistant District
Attorney employed by the Manhattan District Attorney's Office. Plaintiff Price sues Moore in her
professional and individual capacities Upon information and belief, Moore is a resident of the State of
New York.

Atall times referred to herein, defendant Larry Newman was a New York City Assistant District
Attorney employed by the Manhattan District Attorney’s Office. Plaintiff Price sues Newman in his
professional capacity. Upon information and belief, Newman is a resident of the State of New York.
At all times referred to herein, defendant Christina Maloney was a New York City Assistant District
Attorney employed by the Manhattan District Attorney’s Office. Plaintiff Price sues Maloney in her
professional and individual capacities. Upon information and belief, Maloney is a resident of the State
of New York.

Atall times referred to herein, defendant Laura Higgins nee Richendorfer was a New York City
Assistant District Attorney employed by the Manhattan District Attorney’s Office. Plaintiff Price sues
Higgins in her professional and individual capacities Upon information and belief, Higgins is a
resident of the State of New York.

At all times referred to herein, defendant Patricia Bailey was a New York City Assistant District
Attorney employed by the Manhattan District Attorney’s Office. Plaintiff Price sues Bailey in her
professional and individual capacities Upon information and belief, Bailey is a resident of the State of
New York.

At all times referred to herein, defendant Inspector Obe was a New York City Inspector and
Commanding Officer of the 28" Precinct employed by the New York City Police Department
Plaintiff Price sues Obe in her professional and individual capacities. Upon information and belief,

Obe is a resident of the State of New York.
Oo Onn vn a F&F Ww WN

mM MBM YN WY NY NY NY NY NY KP KP RP BP RP RP RP RP RP
So ONY A mn B&B WS KH OG OB DOAN DH fF Ww YP FP ©

28.

29.

30.

Case 1:15-cv-05871-KPF Document 4 Filed 08/13/15 Page 7 of 16

At all times referred to herein, defendant Rose Pierre-Louis was a the Commissioner of Domestic
Violence of the City of New York appointed by the NYC Mayor’s office and employed by the City of
New York. Plaintiff Price sues Pierre-Louis in her professional capacities Upon information and belief,

Pierre-Louis is a resident of the State of New York.

PRELIMINARY STATEMENT/Introduction: Plaintiff Price has been unable to receive a satisfactory
response to her previous demands that she be restored to the status she enjoyed before her false arrest,
unlawful imprisonment and defaming by defendants and that training, policies and procedures be set in
place to evaluate domestic violence and trafficking victims’ complaints and veracity on a
comprehensive level especially when the abuser is a confidential informant or complainant working
with the NYPD or DA’s office(s) on other, unrelated cases. Currently there are special procedures in
place in the NYPD Patrol Handbook for handling DV complaints allegedly committed by an
uniformed or ununiformed NYPD member. These special procedures are indicative that the NYPD
recognizes that people with access to law enforcement channels hold great sway over investigations
and victims. Why isn’t there a separate process denoted for those who work tacitly as informants or
complainants on major cases who receive special handling from precincts and district attorney’s
offices?

McKinney’s Executive Law, Article 23, Fair Treatment Standards for Crime Victims is explicit in its
mandate of procedures that must be followed when a victim reports trafficking or certain felony
assaults. As Plaintiff will demonstrate, NOT ONE of these procedures were followed when Plaintiff
turned to the NYPD and the MDAO for assistance (Exhibit # 45). Further training and re-iteration of
these laws needs to be implemented within the NYPD and District Attorney’s offices such as the
MDAO as Plaintiff is not the only trafficking victim in NYC to have been refused to be recognized
(Exhibit # 46 ) by the NYPD and Criminal Justice Authorities as a trafficking victim. According to the
NY Penal Law 135.35 the crime of “Labor Trafficking” is committed: “if a person compels or induces
another person to engage in labor, or recruits, entices, harbors, or transports such other person

by... Using force or engaging in any scheme, plan or pattern to compel or induce such person to engage

in or continue to engage in labor activity by means of instilling a fear in such person... ” the protections
ow wan nan ua F&F wo WN

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
29

31

32.

33,

Case 1:15-cv-05871-KPF Document 4 Filed 08/13/15 Page 8 of 16

outlined (Exhibit #s 46 & 47) ) by the various statutes of McKinney’s such as receiving emergency
social and medical services, to be notified of the availability of crime victim compensation, support
programs, prompt return of property held for evidentiary purposes, to be protected from intimidation,
to have one’s case reported by the MDAO to the Director of the Office of Victims’ Services, the right
to be pre-certified and/or certified as a victim of human trafficking, and finally confirmation as a
victim of human trafficking (McKinney’s Social Services Law (483-aa-483 cc) (Exhibit # 45).
Plaintiff also seeks POLICY CHANGE for the way that Domestic Violence and Trafficking Survivors
are treated within the criminal justice system when they come forward for help in extracting
themselves from life-threatening intimate partner situations. A methodology and better training needs
to be implemented for identifying true victims that is not subject to the whimsy of one lone
prosecutor’s bias(es). When a victim is thought to be a ‘fabricator’ a review of his/her case needs to be
examined by Domestic Violence advocates, therapists, social workers, and psychiatrists before they are
denied restraining orders, protections, police services, social welfare services, a normal quality of life
free from harm, and their ability to petition the government for a redress of grievances.

This Lawsuit seeks to hold the defendants, CITY OF NEW YORK et al, liable for, but is not limited to
misconduct under the federal civil rights statute, 42 U.S.C. 1983. The unlawful actions of police and
prosecutors documented in this lawsuit resulted from affirmative or de facto municipal policies,
practices and customs to violate the constitutional rights of trafficking and domestic violence
survivors, suspects, and defendants, or from deliberate indifference by policymaking officials, acting

on behalf of the City of New York, to such violations. As Plaintiff will demonstrate.

STATEMENT OF FACTS

The basis for this lawsuit and State and Federal jurisdictions are violations of the USC §1983 et. seq.,
& Title United States Code § (“The CIVIL RIGHTS Act”) of Price’s CONSTITUTIONAL RIGHTS
and various State Law against malicious prosecution, This is a civil action, pursuant to 42 U.S.C 1983,
and state law, seeking monetary damages for Plaintiff, Kelly Price, due to her wrongful arrest,
malicious prosecution, and denial of police services caused by the pervasive misconduct of the

Manhattan District Attorney’s Office [“MDAO”] and the New York City Police Department and
Oo On nD UT SF WH DS

mS MB NS NS YY NY NY KY KY NY KF KP RP BP KP FP RP RP RP BB
So Ot aun wb wn FP CO BO DN Dun fF Ww NY FP DO

34.

35

Case 1:15-cv-05871-KPF Document 4 Filed 08/13/15 Page 9 of 16

POLICY CHAGE for the way victims of Domestic Violence and Trafficking Victims are evaluated by
the NYPD and MDAO when they approach the “authorities” in the darkest, most desperate days of
their lives.

LEGAL ARGUMENT Defendant’s would have the court believe that they followed all proper
protocols and procedures when handling her complaints and that PLAINTIFF was not a victim but a
FABRICATOR of her own injuries undeserving of services and justice and the City Law Department
Lawyers will laughably try to convince the court that the defendants are only guilty of “Negligent
Investigation” of which there is no Federal or State proscription against. These base conclusions were
drawn by inexperienced and biased members of the MDAO and NYPD whom had much at stake in the
evaluation of Plaintiff's complaints of abuse and trafficking against her batterer as he, Raheem Andre
Powell, was acting as a complainant himself in an attempted murder case against a party unaffiliated
with PLAINTIFF and also provided information and acted as a confidential informant for the NYPD
and the MDAO who assisted in the arrests of countless alleged “gang” members operating in Harlem
where Plaintiff resided at the time of the infractions against her person and her rights. PLAINTIFF
addresses, and endeavors in the space available to correct, these mischaracterizations of law and fact
below, and thereby to demonstrate that defendants’ lack of training and willful disregard to Plaintiffs
rights as a victim should be recognized by the court and that procedures and policies be mandated for
the handling of trafficking and intimate partner victims by the City of New York.

Plaintitf Kelly Price brings forth the following causes of action and alleges the following: Beginning in
2010 and into early 2011, Plaintiff was in contact with various members of the Criminal Justice
community including Manhattan Family Court Judge Sattler, who issued an order of protection in
November of 2010 (Exhibit #25 ) against Plaintiff's abuser, Raheem Andre Powell. Plaintiff Price was
at various times in touch with ADA Maria Strohbehn, ADA Kenya Wells, Deputy DA Audrey Moore
(indirectly through Strohbehn), Detective Linda Simmons and other members of the 28th precinct,
NYPD, for assistance in her attempts to extricate herself from her batterer, Raheem Andre Powell.
Powell had abused Plaintiff physically, mentally, and economically and engaged in a brutal campaign
of trafficking and controlling her against her will. Instead of investigating Plaintiff's claims and

assisting her Plaintiff was arrested and charged with hundreds of counts of aggravated harassment
ow On Dns ua FF WwW WD

Se Nh NS KB BY NH KY WH NN FP BRP BR RP RP KF RP RP RP BB
So Oo Yan sb WH FP CO BO ON DU FF WY PRP SD

36.

37,

Case 1:15-cv-05871-KPF Document 4 Filed 08/13/15 Page 10 of 16

towards her batterer and one count of contempt of court resulting in Plaintiff’s false arrest, malicious
prosecution, unlawful Imprisonment, and defamation. Various abuses of process and Injurious
Falsehoods were levied against her in violation of her civil rights Constitutionally protected under the
ist, 4", 5", 6", 8, 14", and 16" Amendments from unreasonable search and seizure et al and
violations of procedural due process and the New York Constitution.
This lawsuit seeks to hold the defendant CITY OF NEW YORK liable for the above and below stated
misconduct under the federal civil rights statute, 42 U.S.C. § 1983, and Monell v. Dept. Of Social
Services, 436 U.S. 658 (1978) and under state law. The unlawful actions of police detectives and
prosecutors documented in this lawsuit resulted from affirmative or de facto municipal policies,
practices and customs to violate the constitutional rights of criminal suspects and defendants involved
in making Domestic Violence complaints, or from deliberate indifference by policy-making officials,
acting on behalf of the City of New York, to such violations. As Plaintiff will demonstrate, both the
NYPD and the MDAO, as a matter of policy, instructed and coerced witnesses to give false or
unreliable testimony through their misuse of their powers of arrest and interrogation, unlawfully
concealed exculpatory or impeachment evidence known as "Brady" material, and lied to or misled
courts, defense attorneys, and criminal defendants in order to cover up their unlawful behavior.
Further they placed Plaintiff on a “DO NOT SERVE” list making it impossible for her to attain police
services of protections in the wake of the MDAO and NYPD losing the protracted criminal
proceedings against her
The principal individual defendant, acting pursuant to unlawful municipal policy, who caused
Plaintiffs unconstitutional arrest, prosecution, inflicted intentional emotional distress and orchestrated
the defaming and slander of plaintiff, is the very (ret.) NYPD detective formerly assigned to the 23"
precinct, Linda Simmons, who was tasked to investigate Plaintiff's complaints of abuse against her
batterer, Raheem Andre Powell. Simmons' illegal behavior in Plaintiff's case included the following:
a. Testifying under oath by stating “YES” in Judge Sattler’s Family Court Part in response to a
question from the Hon. Judge Sattler claiming she had investigate Plaintiff's allegations of
Domestic Violence perpetrated against her person and then exclaiming that she had found Plaintiff

Price to be “not credible” (EXHIBIT 13 # March 24" and Feb | Family court transcripts) when in

10
oO man an un F&F WwW PD

MW NY NY NS NS NH NY NY KN FP RP RP BP BP RP RP BR RP
Oo ONY An FF WS FP OG GB ON DU FF W NY KF CO

Case 1:15-cv-05871-KPF Document 4 Filed 08/13/15 Page 11 of 16

fact NO INVESTIGATION HAD TRANSPIRED. (Exhibit # NYPD Handbook Procedures)

In violation of various criminal statutes, directing the preparation and filing, with the MDAO, the
NYPD, of official records she knew were false alleging that Plaintiff had fabricated her injuries
sustained at the hands of Mr. Powell, and that her “fabrications” were a threat to Mr. Powell
(Exhibit #s 4 &5 )

Repeatedly making willfully false representations of "fact" in such statements under oath to create
a "factual" basis to obtain court orders of protection on behalf of Mr. Powell securing Plaintiff's
constriction of willful and free movement by the court, to gain illegal custody of plaintiff, and to
coerce plaintiff. (See Exhibit 26 #s Family court orders) after March 24" giving Powell the more
restrictive 100 yard protection and eliminating it from Plaintiff's OP therefore making it illegal for
Plaintiff to happen to be in any space in her neighborhood where Powell would enter after
including bodegas, parks where bbqs were held, dog runs, coffee shops, drugstores etc. It felt to
Plaintiff in fact that often when she would be in a public place in her neighborhood that Powell
would appear shortly thereafter forcing her to leave and to call public attention to the situation,
causing her social injury and personal anguish, insult, shame and injury. This happened numerous
times in the period of March 24, 2011 through July 24, 2012 when all charges were dismissed and
sealed against Plaintiff making the restraining order a nullity.)

Lying to prosecutors in the MDAO who were investigating Plaintiffs allegations of abuse, by
flatly denying various allegations had ever taken place even though she herself had never
investigated the facts of the abuse. Simmons never walked the 175 yards from the precinct to
Plaintiffs Brownstone to question neighbors about abuse: she never viewed or reviewed
photographs of Plaintiffs injuries: never asked Plaintiff to sign HPPA forms for her various
emergency room admissions for injuries sustained at the hands of Powell: never examined text
messages Plaintiff had received from Powell detailing physical and other threats against her
person, name and reputations her would unveil if she reported his abuse against her: never
reviewed the various receipts Plaintiff had been given by various window and door repairmen who
had been called to her home repeatedly to fix her front door and windows which had been broken

as Powell would try to gain illegal entry to Plaintiff's garden-level brownstone apartment when he

11
oO Oo nN Dn Uu SF W WD

Se BONY BY KY KY NY NY KY KH BRB FP RP BP RP EF BP RP PR eB
oo Ont a uu BF wn FP COC DO DN DOD UH F WY FP SO

38.

39.

40,

Case 1:15-cv-05871-KPF Document 4 Filed 08/13/15 Page 12 of 16

would fly into fits of rage etc.
Equally importantly, Plaintiff seeks additional recovery against New York City for the actions of
Assistant District Attorneys Maria Strohbehn, Audrey Moore and Kenya Wells for initiating Plaintiff's
malicious prosecution based upon allegations in Criminal Court complaint they knew were neither true
nor false as they had not investigated the facts of Plaintiffs abuse they had no factual basis to believe
their allegations to be true.
Additionally Plaintiff was placed on a “NO SERVICES LIST” which prohibited her from attaining
police services of any kind because of the actions of the MDAO against her 1, 5, gt and 14"
Amendment entitlements to Equal Protection under the Law, to Redress the Government for
Grievances, Due Process and from Unusual Punishment. Many other New Yorkers have been placed
on this list and DENIED police services: Plaintiff seeks the court to correct this practice by the Police
and Borough District Attorneys including the MDAO and NYPD of denying the citizenry of Gotham
the ability to make police reports, to receive equal protection under the law, due process, and to be
protected from unusual punishment. In a December, 2014 New York Times Magazine interview DA
Vance states:
“By May 2010, Parker and Vance had roughed out the structure of the so-called Crime Strategies
Unit (C.S.U.). They divided Manhattan’s 22 police precincts into five areas and assigned a senior
assistant D.A. and an analyst to map the crime in each area. C.S.U. staff members met with patrol
officers, detectives and Police Department field intelligence officers. They asked police
commanders to submit a list of each precinct’s 25 worst offenders — so-called crime drivers,
whose “incapacitation by the criminal-justice system would have a positive impact on the
community’s safety.” Seeded with these initial cases, the C.S.U. built a searchable database that
now includes more than 9,000 chronic offenders, virtually all of whom have criminal records. A
large percentage are recidivists who have been repeatedly convicted of grand larceny, one of the
top index crimes in Manhattan, but the list also includes active gang members, people whom the
D.A. considers “uncooperative witnesses,” and a fluctuating number of violent “priority targets,”
(Exhibit # 48).

How many “uncooperative witnesses” and crime victims have been unwittingly placed on this list and

12
oO won no ua FF WwW NWN

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
29

41,

Case 1:15-cv-05871-KPF Document 4 Filed 08/13/15 Page 13 of 16

denied services? Plaintiff seeks the court to explore this unconstitutional process vis a vis discovery
regarding exactly how and why one is put on such a list and to question if at all this is even a legal
practice employed by the MDAO and NYPD and to stave its practice and further implementation.

The MDAO tefused to investigate Plaintiff's claims of abuse. Plaintiff received a phone cal! from DA
Strohbehn on February 2, 2011. Strohbehn informed Plaintiff that she had “less than an hour” to get
downtown to her office regardless of the difficulty in travelling that day as the city had been blanketed
by a blizzard the previous evening. When Plaintiff arrived at her office she instructed her to wait in the
Safe Horizon office for over two hours. When she greeted Price she withdrew her right hand as
Plaintiff outstretched hers to as is common in professional and official circumstances to do. She led
Plaintiff brusquely down the hall of the 2™ floor where she and Det. Simmons and another Dt from the
28" pct pepper Plaintiff with questions about how Price came to own a car, how Price earned a living,
and accuse Price of answering her phone earlier in the day “with a fake accent.’ They proceeded to
call Plaintiffa liar and refuse to look at any material that proved Price was telling the truth, ADA
Strohbehn informed Price she was declining to prosecute Raheem, and informed her that if I make
another report against RAHEEM that she will ‘lock Price up and throw away the key.” She also
informed the 28th precinct that she will personally handle all of Price’s “police service needs” and if
Price have “a bullet-hole in her head that they are to call the Das office first to clear police services
offered first before responding to any call from Price.” She informs Price that she has already assisted
Raheem in drawing up a Family Court petition to attain a counter restraining order against me in order
to press counter-claims of harassment against Price. She further instructs Price that even though she
haven’t been served that Price am to show up in family court the next morning to respond to Raheem’s
charges. She tells Plaintiff that she will be charged with contempt of court if Price does not show up
“ag she as an officer of the court (NOTE FAMILY COURT-NOT Criminal COURT where Stohbehn
has jurisdiction) was ordering Price to appear even though there was no time to serve Price with a
subpoena (sic).” She tells Price her only concern is that “an innocent black man has been sitting in jail
for 24 hours...” Price asked to speak with her supervisor to show her proof and have neighbors
interviewed etc. and Ms. Strohbehn informs Price that “she already checked with her supervisor

(Audrey Moore) and that she has been given carte blanche to deal with me with finality.” Price is

13
o mn Do uu FSF WW WD

me wpe Ww WB KB NB KB KY KY NY FP KR Ff BP RP FP KP RP PR
0 Oo YN A wn fF WY FP OO fF DN Du fF W KY FP CO

42.

43,

44,

45

46,

47,

Case 1:15-cv-05871-KPF Document 4 Filed 08/13/15 Page 14 of 16

instead thrown out of her office. Plaintiff’s landlord and others try to speak with Ms. Strohbehn to
introduce investigatory evidence and she rebuffs them (please see attached letters from landlord, Adam
Gargani, My neighbors Marilyn Benetatos et al about Ms. Strohbehn’s and ADA Kenya Wells’ refusal
to investigate. Exhibit #a 3, 17 and 30 respectively.
This lawsuit also seeks to hold the City of New York accountable for the actions of attorneys at the
Manhattan District Attorney's Office, Susan Roque, Patricia Bailey and Christina Maloney, for their
misconduct, in an administrative capacity as Freedom of Information Law ("FOIL") officers, in
covering up and withholding documents and information formally and continually requested by
Plaintiff that directly hold baring to these proceedings. The unlawful denial of Plaintiff's FOIA
requests by the SAME employee of the MDAO who REPRESENTED the individual DA defendants in
a previous complaint filed incorrectly in NY State Supreme Court prevented Plaintiff's receiving of
items in her File unlawfully and with intentional and willful fraud, unethically, maliciously, and
against the requirements of McKinney’s that crime victims be able to request and receive a copy of
their crime victim report.
Plaintiff, Kelly Price, is an intelligent and able individual who had built a career in photojournalism
and would have continued to earn a substantial salary as an editor, but for the defendants’ misconduct
in causing her wrongful prosecution, and imprisonment. She seeks $30 million in actual damages, and
$10 million in punitive damages, for the egregious misconduct that deprived her of the joys of bearing
the child she miscarried, of family life, of her journalism career, emotional pain and suffering,
defamation and of living as a free person.
JURISDICTION, VENUE, and CONDITIONS PRECEDENT
a. This action arises under 42 U.S.C. §§ 1983 and 1988, and under the common law of the State of
New York. Jurisdiction is conferred on this Court by 28 U.S.C. §§ 1331 and 1343, and by
principles of pendent jurisdiction.
On or about October 22, 2013 Plaintiff served upon Defendant City of New York a timely notice of the
present claims pursuant to New York General Municipal Law § 50-e.
This action has been commenced within three years of the accrual of Plaintiffs causes of action.

Plaintiff has duly complied with all of the conditions precedent to the commencement of this action.

14
Co ON DBD UH S&F Ww DB

MN NY NS NY NHN KH NY NY NY FP RP RP BP RP RB RP BP RP
Oo OoON An FB WwW SY FP DOD OB ON Do BF Ww NY KF OS

48,

49,

50.

51,

52,

53.

54.

55.

Case 1:15-cv-05871-KPF Document 4 Filed 08/13/15 Page 15 of 16

THE PARTIES

Plaintiff, Kelly Price is a citizen and resident of the State of New York and of the United States, and
resides within the City of New York in the Southern District of New York.

Defendant, CITY OF NEW YORK, of which the County of New York is a subdivision, is a municipal
corporation of the State of New York.

Defendant, Linda Simmons, “Simmons” at all relevant times, was a Detective in the 28h precinct
which is in New York County, the City of New York, acted toward Plaintiff under color of statutes,
ordinances, customs, and usage of the State of New York and the City of New York, and acted within
the scope of her employment. She is sued in her individual and her official capacities.

Defendant, Maria Strohbehn, “Strohbehn” at all relevant times, was an assistant district attorney in
New York County, was employed by the City of New York, acted toward Plaintiff under color of
statutes, ordinances, customs, and usage Of the State of New York and the City of New York, and
acted within the scope of her employment. She is sued in her official capacities.

Defendant, Audrey Moore, “Moore” at all relevant times, was an assistant district attorney in New
York County, was employed by the City of New York, acted toward Plaintiff under color of statutes,
ordinances, customs, and usage Of the State of New York and the City of New York, and acted within
the scope of her employment. She is sued in her official capacities.

Defendant, Kenya Wells, “Wells” at all relevant times, was an assistant district attorney in New York
County, was employed by the City of New York, acted toward Plaintiff under color of statutes,
ordinances, customs, and usage of the State of New York and the City of New York, and acted within
the scope of his employment. He is sued in his official capacities.

The Manhattan District Attorney’s Office “MDAO” is an agency of the CITY OF NEW YORK. The
District Attorney, and assistant district attorneys employed by the D.A.'s Office are agents and
employees of the City of New York, which is legally responsible for torts they commit within the
scope of their employment and/or under color of law.

Similarly, the New York City Police Department “NYPD” is an agency of the CITY OF NEW YORK.
Detectives and police officers employed by the NYPD are agents and employees of the City of New

York, which is legally responsible for torts they commit within the scope of their employment and/or

15
oO on dn ao SF WwW PD

Se NM NY DS KY YB NY NB YB NY KP KP KF PRP RP RP RP RP FP BB
Oo ON A vn fF WN FP CO HD DOAN Do F&F W NY FP SO

56.

57,

58.

59.

60,

61.

62.

Case 1:15-cv-05871-KPF Document 4 Filed 08/13/15 Page 16 of 16

under color of law.

Defendant, Christina Maloney, “Maloney” at all relevant times, was an assistant district attorney in
New York County, was employed by the City of New York, acted toward Plaintiff under color of
statutes, ordinances, customs, and usage of the State of New York and the City of New York, and acted
within the scope of his employment. He is sued in his official capacities.

Defendant, Cyrus Vance Jr.,, “Vance” at all relevant times, was the district attorney in New York
County, was employed by the City of New York, acted toward Plaintiff under color of statutes,
ordinances, customs, and usage of the State of New York and the City of New York, and acted within
the scope of his employment. He is sued in his official capacities.

Defendant, Larry Newman, “Newman” at all relevant times, was an assistant district attorney in New
York County, was employed by the City of New York, acted toward Plaintiff under color of statutes,
ordinances, customs, and usage of the State of New York and the City of New York, and acted within
the scope of his employment. He is sued in his official capacities.

Defendant, Laura Higgens, nee Richendorfer “Higgins” at all relevant times, was an assistant district
attorney in New York County, was employed by the City of New York, acted toward Plaintiff under
color of statutes, ordinances, customs, and usage of the State of New York and the City of New York,
and acted within the scope of her employment. She is sued in her official capacities,

Defendant, Police Inspector Obe, Commanding Officer of the 28" Precinct, “Obe” at all relevant times,
was an Inspector at the 28" precinet which is in New York County, the City of New York, acted
toward Plaintiff under color of statutes, ordinances, customs, and usage of the State of New York and
the City of New York, and acted within the scope of her employment. She is sued in her official
capacities.

Defendants Patricia Bailey and Susan Roaue at all relevant times, were employees of the Manhattan
District Attorney’s Office which is in New York County, the City of New York, acted toward Plaintiff
under color of statutes, ordinances, customs, and usage of the State of New York and the City of New
York, and acted within the scope of their employment. They are sued in their official capacities.
Defendant Rose Pierre-Louis, “Pierre-Louis” at all relevant times, was the Commissioner of Domestic

Violence at the Mayor’s Office for the Prevention of Domestic Violence, NYC which is in New York

16
